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 8                            UNITED STATES DISTRICT COURT
 9                           SOUTHERN DISTRICT OF CALIFORNIA
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11   G&G CLOSED CIRCUIT EVENTS,                            Case No.: 20-cv-02137-JLS-NLS
     LLC,
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                                          Plaintiff,       ORDER GRANTING EX PARTE
13                                                         MOTION FOR LEAVE TO LODGE
     v.                                                    DVD RECORDINGS
14
     CALIFORNIA CENTER FOR THE
15
     ARTS, ESCONDIDO, FOUNDATION,
16                                     Defendant.          [ECF No. 30]
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18         Presently before the Court is Defendant’s Ex Parte Application for an Order
19   Permitting Lodging of DVD Recordings in Support of Its Motion for Summary Judgment
20   or, in the Alternative, Partial Summary Judgment (ECF No. 30). In its ex parte motion,
21   Defendant seeks leave to lodge a DVD with two videos that “provide an accurate view of
22   the locations described both in other evidence and supporting documentation to be
23   submitted with Defendant’s” anticipated motion for summary judgment.              (Id. at 2.)
24   Plaintiff did not file an opposition.1
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27   1
           The Court notes that Defendant’s ex parte motion is not in compliance with Civil
28   Local Rule 83.3(g)(2), which provides:

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                                                                                 20-cv-02137-JLS-NLS
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 1         The Southern District of California permits the non-electronic filing of exhibits
 2   when they are not convertible to electronic form, provided the Court grants leave. Elec.
 3   Case Filing Admin. Pol’ys & Procs. Manual § 2(k).              Having read and considered
 4   Defendant’s ex parte motion, and good cause appearing, the Court GRANTS the motion.
 5   Accordingly, simultaneously with the filing of its anticipated motion for summary
 6   judgment, Defendant shall lodge the DVD with the Clerk’s Office and file a Notice of
 7   Lodgment. Defendant shall also deliver a courtesy copy of the DVD to chambers. The
 8   DVD shall contain only the video evidence described in Defendant’s ex parte motion (ECF
 9   No. 30 at 2).
10         IT IS SO ORDERED.
11   Dated: November 1, 2021
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21                   A motion for an order must not be made ex parte unless it appears
22                   by affidavit or declaration (1) that within a reasonable time
                     before the motion the party informed the opposing party or the
23                   opposing party’s attorney when and where the motion would be
24                   made; or (2) that the party in good faith attempted to inform the
                     opposing party and the opposing party’s attorney but was unable
25                   to do so, specifying the efforts made to inform them; or (3) that
26                   for reasons specified the party should not be required to inform
                     the opposing party or the opposing party’s attorney.
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     The Court cautions Defendant against further failure to comply with the Court’s Local
28   Rules.

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